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                                                               U.S. Department of Justice

                                                              Jason II. Dunn
                      /'Y'                                     United Slates Attorney
       A. \L/ /'
                                                               District of Colorado

      HetalJ. Doshi                                          1801 California Street. Suite 1600   Telephone: 303-454-0100
      Assistant United States Attorney                       Denver. CO 80202                     Fax: 303-454-0405




                                                              July 12, 2020


       Via Email
      Michael Sheehan, Esq.
      Counsel to Michael Aaron Tew
      Sheehan Law Denver
      7400 East Caley Avenue
      Quebec Center II
      Suite 300
      Centennial, Colorado 801 1 1
      michael@shechanlawdenver.com
      720.38 1.6146


      Dear Mr. Sheehan.


      I understand your client, Michael Tew, is interested in meeting with federal law enforcement
      agencies and the Criminal Division of the United States Attorney's Office for the District of
      Colorado for a proffer related to this office’s criminal investigation of conduct related to or
      arising out Mr. Tew’s financial transactions, direct or indirect, with National Air Cargo, and
      subsequent transactions initiated by or for the benefit of Mr. Tew, either directly or indirectly.
      This letter sets out the terms for that proffer, to be scheduled soon and set to occur in Denver,
      and any follow up proffer sessions between the Criminal Division of the United States
      Attorney’s Office for the District of Colorado (“the government”), and you and your client.


                Your client agrees that he will truthfully and completely disclose all information with
      respect to his activities and the activities of others that are the subject of inquiry by the
      government during the proffer. In this regard, your client must neither attempt to protect any
      person, entity, or asset through materially false information or omission, nor falsely implicate
      any person, entity, or asset. The only limited exception to this is that Mr. Tew has elected at this
      time not to answer questions that may specifically implicate his wife, Kimberly Tew. He has
      consulted with his counsel and understands that this decision could diminish the value, if any, of
      his cooperation. Mr. Tew has stated that he may revisit this decision in the future. In the event


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                                                                                DEFENDANT'S
                                                                                     EXHIBIT



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          that Mr. Tew agrees in the future to answer questions that may specifically implicate his wife,
       such a change will be memorialized in a subsequent proffer agreement. At a future time your
       client may be subpoenaed to testify before a federal grand Jury, at trial, or in other court
       proceedings. You and your client understand that false statements willfully made during this
       proffer will negate the Government's agreement not to use this proffered information against
       your client.


      2.         Except as set forth below, the government will not offer as evidence statements made by
      your client, or other information provided by your client during the proffer relating to the subject
      matter of the proffer, in (a) grand jury proceedings seeking an indictment against your client, (b)
      its case-in-chief at a trial against your client, or (c) at your client’s sentencing.


      3.        The government may use any statements made by your client or any information directly
      or indirectly derived from statements made by your client during the proffer for any other
      purpose, including (a) to obtain leads to other evidence that may be used against your client at
      any stage of a criminal prosecution, (b) in any prosecution of your client for perjury, false
      statements, or obstruction ofjustice, or (c) in a prosecution of your client for any crimes of
      violence, as defined in Title 1 8, United States Code, Section 1 6, or any conspiracy to commit a
      crime of violence. Provision (a) eliminates the need for a hearing at which the government
      would have to prove that the evidence it would introduce at trial is not tainted by any statements
      made by or other information provided by your client during the proffer. See Kasligarv. United
      States, 408 U.S. 931 (1 972). It is the intent of this agreement to establish that such derivative use
      is proper. By signing this letter, your client expressly waives any right to challenge the
      derivative use of such statements or information.


      4.        The government may also use any statements made by your client during the proffer,
     either as evidence or for cross-examination, at trial or any other stage of the criminal
      prosecution, if your client later testifies, offers other evidence, or presents a position (including
     through affidavit or in argument) that contradicts statements made by your client during the
     proffer. By signing this letter, you and your client specifically agree that the government may
     use your client’s statements or information in the circumstances described above. See United
     Slates v. Mezzanatto, 513 U.S. 196 (1995).


     5.         Federal Rule ofCriminal Procedure 1 1(f) and Federal Rule of Evidence 410 do not apply
     to any statements made by your client during the course of the proffer.


     6.         In the event evidence other than your client's own statements is developed, regardless of
     whether it is developed before or after the proffer, this agreement does not impart "transactional"
     immunity to your client or preclude the government from bringing charges against him in the
     future.



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      7.      Your client understands that he is required to provide full and complete information
      about the subject matter of (he proffer and any information about himself which might adversely
      impact on his credibility as a witness concerning such activity.


      8.      This agreement does not obligate the government to enter into any future plea bargain
      with your client or to file any motion regarding cooperation provided by your client.


      9.      This agreement is not binding on the Civil Division of the United States Attorney’s
      Office for the District of Colorado, any other federal government office, or any other state, tribal,
      or local office or agency not specifically named in this agreement.


      No understandings, promises, or agreements have been entered into other than those set forth in
      this agreement, and nothing said during the proffer will constitute a promise or agreement unless
      all parties agree in writing.




                                                            Sincerely,


                                                            JASON R. DUNN
                                                            United States Attorney


                                                            s/ Helal J. Doshi
                                                            By: Helal J. Doshi
                                                            Assistant United States Attorney




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      I, Michael Tew, have read this agreement and carefully reviewed it with my attorney.      1
      understand it, and I voluntarily, knowingly and willfully agree to it without force, threat or
      coercion. No other promises or inducements have been made to me other than those contained in
      this letter. I am satisfied with the representation of my attorney in this matter.




                                                                    7M
      Michael Aaron Tew                                      Dale




      I acknowledge that I have read this proffer agreement, reviewed it with my client, and discussed
      fully with my client each of the provisions of the agreement.




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      Michael Sheehan                                        Date
      Counsel for Michael Aaron Tew




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